     Case 8:21-cv-00650-JVS-DFM Document 20 Filed 10/18/21 Page 1 of 4 Page ID #:130



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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                       SOUTHERN DIVISION
11      LOUISE RANDALL,                                 CASE NO. 8:21-cv-00650-JVS-DFMx
12                          Plaintiff,                  Assigned to: Hon. James V. Selna, Judge
13      v.
                                       ORDER TO REMAND CASE TO
14      DOE FORKLIFT OPERATOR;         STATE COURT.
        TARGET CORPORATION; and DOES 1
15      TO 50, INCLUSIVE,              [28 U.S.C. § 1447(c)]
16                          Defendants.
17

18           Having reviewed the Stipulation of the Parties and good cause appearing therefor,
19           IT IS HEREBY ORDERED THAT:

20
             1.    The “Notice of Removal of Civil Action” filed with this Court on April 8,

21
      2021, as Document 1, shall be withdrawn and that this cause be remanded to the Superior
      Court of the State of California, County of Orange, Case No.: 30-2020-01173131-CU-
22
      PA-CJC;
23
             2.    Plaintiff LOUISE RANDALL shall file a Dismissal of Defendant DOE 1 –
24
      FORKLIFT OPERATOR, served as SEAN PATRICK AHHING, currently with, and
25
      upon the filing of, this Stipulation;
26
             3.    The Parties agree that neither Party shall be deemed a prevailing party
27
      pursuant to this Stipulation as a result of this remand;
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                                                    1                         CASE NO 8 21−cv−00650−JVS−DFM

                                 ORDER TO REMAND CASE TO STATE COURT
     Case 8:21-cv-00650-JVS-DFM Document 20 Filed 10/18/21 Page 2 of 4 Page ID #:131



 1
            4.     The Parties shall bear their own costs and fees;
 2          5.     Neither Party shall be assessed any costs and fees or be held to have waived
 3    any argument, claim, or defense as a result of this Stipulation or remand; and
 4          6.     The Court further orders that the court file in this case be transferred by the
 5    clerk of this Court to the clerk of the State Court, along with a certified copy of this Order
 6    of Remand. The State Court may thereupon proceed with this case.
 7

 8    SO ORDERED.

 9
      Dated: 10/18/21
10                                                   ___________________________________
11
                                                          Hon. James V. Selna, Judge
                                                          United States District Court
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                                                    2                      CASE NO 8 21−cv−00650−JVS−DFM

                                ORDER TO REMAND CASE TO STATE COURT
     Case 8:21-cv-00650-JVS-DFM Document 20 Filed 10/18/21 Page 3 of 4 Page ID #:132



 1                                     PROOF OF SERVICE
 2
      STATE OF CALIFORNIA, COUNTY OF ORANGE
 3
            I am employed in the County of Orange, State of California. I am over the age of
 4
      18 and not a party to the within action. My business address is: HORTON,
 5    OBERRECHT & KIRKPATRICK, 3 Park Plaza, Suite 350, Irvine, California 92614.
 6
            On October 18, 2021, I served the foregoing document described as: ORDER TO
      REMAND CASE TO STATE COURT, on all interested parties in this action by
 7
      placing a true copy thereof enclosed in sealed envelopes addressed as stated on the
      attached service list:
 8

 9    [ ] BY MAIL – I deposited such envelope in the mail at Irvine, California. The
      envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
10
      firm’s practice of collection and processing correspondence for mailing. Under that
11    practice it would be deposited with the U.S. Postal Service on that same day with postage
      thereon fully prepaid at Irvine, California in the ordinary course of business. I am aware
12
      that on motion of the party served, service is presumed invalid if postal cancellation date
13    or postage meter date is more than (1) day after the date of deposit for mailing in
      affidavit.
14

15    [ ] BY PERSONAL SERVICE – I caused such envelope to be delivered by a process
      server employed by [name of process server].
16

17    [ X ] BY ELECTRONIC TRANSMISSION – I transmitted a PDF version of this
      document by electronic mail to the party(s) identified on the attached service list using
18
      the e-mail address(es) indicated.
19
      [ X ] (Federal) I declare that I am employed in the office of a member of the bar of
20
      this Court at whose direction the service was made.
21
            Executed on October 18, 2021, at Irvine, California.
22

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                                                        Crystal Thompson
26

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                                                   3                      CASE NO 8 21−cv−00650−JVS−DFM

                                ORDER TO REMAND CASE TO STATE COURT
     Case 8:21-cv-00650-JVS-DFM Document 20 Filed 10/18/21 Page 4 of 4 Page ID #:133



 1
                                           SERVICE LIST
 2
      Randall v. Doe Forklift Operator, et al.
 3
      United States District Court Central District of California:
 4
       Marc Lazarus, Esq.                               Attorneys for Plaintiff Louise Randall
 5
       RUSSELL & LAZARUS
 6     1401 Dove Street, Suite 310
       Newport Beach, CA, 92660
 7
       Telephone: (949) 851-0222
 8     Facsimile: (949) 851-2422
       Marc@lawrussell.com;
 9
       jorge@lawrussell.com;
10     sean@lawrussell.com
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                                                    4                      CASE NO 8 21−cv−00650−JVS−DFM

                                ORDER TO REMAND CASE TO STATE COURT
